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 7    Attorneys for Defendants Silva and Hicks

 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                           FRESNO DIVISION
11

12
      MICHAEL MADDEN, Successor-in-                           1:18-CV-00255-ADA-BAM
13    Interest to Ryan P. Madden, et al.,
                                                              DEFENDANTS' RAND WARNING TO
14                                          Plaintiffs,       PLAINTIFF REGARDING OPPOSING
                                                              SUMMARY JUDGMENT
15                   v.
16
      HICKS, et al.,
17
                                          Defendants.
18

19
20          TO MICHAEL AND KATHLEEN MADDEN, SUCCESSORS-IN-INTEREST TO

21    RYAN P. MADDEN, PROCEEDING PRO SE:

22          Plaintiffs are advised to read the following warning, which is a verbatim copy of the model

23    warning from Rand v. Rowland, 154 F.3d 952, 962-63 (9th Cir. 1998) (en banc):

24                                            RAND WARNING

25          The defendants have made a motion for summary judgment by which they seek to have

26    your case dismissed. A motion for summary judgment under Rule 56 of the Federal Rules of

27    Civil Procedure will, if granted, end your case.

28    ///
                                                          1
                                                                    Rand Warning (1:18-CV-00255-ADA-BAM)
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 1          Rule 56 tells you what you must do in order to oppose a motion for summary judgment.

 2    Generally, summary judgment must be granted when there is no genuine issue of material fact—

 3    that is, if there is no real dispute about any fact that would affect the result of your case, the party

 4    who asked for summary judgment is entitled to judgment as a matter of law, which will end your

 5    case. When a party you are suing makes a motion for summary judgment that is properly

 6    supported by declarations (or other sworn testimony), you cannot simply rely on what your

 7    complaint says. Instead, you must set out specific facts in declarations, depositions, answers to

 8    interrogatories, or authenticated documents, as provided in Rule [56(c)],1 that contradict the facts

 9    shown in the defendant's declarations and documents and show that there is a genuine issue of
10    material fact for trial. If you do not submit your own evidence in opposition, summary judgment,
11    if appropriate, may be entered against you. If summary judgment is granted, your case will be
12    dismissed and there will be no trial.
13           EASTERN DISTRICT OF CALIFORNIA LOCAL RULE REQUIREMENTS
14          In accordance with Local Rule 260(a), Defendants have filed a Statement of Undisputed

15    Facts that contains discrete, specific materials facts to support their entitlement to summary

16    judgment. In response to this Statement, Local Rule 260(b) requires you to “reproduce the

17    itemized facts in the Statement of Undisputed Facts and admit those facts that are undisputed and

18    deny those that are disputed, including with each denial a citation to the particular portions of any

19    pleading, affidavit, deposition, interrogatory answer, admission, or other document relied upon in
20    support of that denial.” You may also “file a concise Statement of Disputed Facts, and the source

21    thereof in the record, of all additional material facts as to which there is a genuine issue

22    precluding summary judgment or adjudication.” Id. You are responsible for filing all evidentiary

23    documents cited in the opposing papers. Id. If additional discovery is needed to oppose summary

24    ///

25    ///

26    ///

27
              1
               The substance of Rule 56(e) from the 1998 version, when Rand was decided, has been
28    reorganized and renumbered with the current version of Rule 56(c).
                                                     2
                                                                     Rand Warning (1:18-CV-00255-ADA-BAM)
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 1    judgment, Local Rule 260(b) requires you to “provide a specification of the particular facts on

 2    which discovery is to be had or the issues on which discovery is necessary.”

 3    Dated: October 3, 2023                              Respectfully submitted,
 4                                                        ROB BONTA
                                                          Attorney General of California
 5                                                        TYLER V. HEATH
                                                          Supervising Deputy Attorney General
 6

 7
                                                          /s/Brian S. Chan
 8

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10                                                        BRIAN S. CHAN
                                                          Deputy Attorney General
11                                                        Attorneys for Defendants
                                                          Silva and Hicks
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                                                                  Rand Warning (1:18-CV-00255-ADA-BAM)
